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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
CRH                                               271 Cadman Plaza East
F. #2014R00196                                    Brooklyn, New York 11201



                                                  September 5, 2023

By ECF

The Honorable Peggy Kuo
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Asia Siddiqui
                     Criminal Docket No. 15-213 (DG)(PK)

Dear Judge Kuo:

               The government respectfully submits this letter in response to the Court’s
orders, dated June 20, 2023 and September 1, 2023, requiring a status report regarding the
return of the defendant’s laptop. Government agents returned the laptop to a designee in late
July 2023. The government apologizes for the delayed response to the Court’s order.



                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:       /s/
                                                  Craig Heeren
                                                  Assistant U.S. Attorney
                                                  (718) 254-7000
